     Case 2:20-cv-05472-SB-KS Document 31 Filed 11/10/21 Page 1 of 2 Page ID #:4427




1
2
3
4
5
6
7
8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
      PHILIP HANES,                     )         NO. CV 20-05472-SB (KS)
11                                      )
                       Petitioner,
12                                      )
              v.                        )         ORDER ACCEPTING FINDINGS AND
13                                      )         RECOMMENDATIONS OF UNITED
14    CRAIG KOENIG, Warden, et al.,     )         STATES MAGISTRATE JUDGE
                                        )
15                     Respondents.     )
16    _________________________________ )
17
18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for Writ of Habeas
19    Corpus (“Petition”), all of the records herein, the Report and Recommendation of United
20    States Magistrate Judge (“Report”), and Petitioner’s Objections to the Magistrate Judge’s
21    Report and Recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and Federal Rule of
22    Civil Procedure 72(b), the Court has conducted a de novo review of those portions of the
23    Report to which objections have been stated. Having completed its review, the Court accepts
24    the findings and recommendations set forth in the Report.
25    //
26    //
27    //
28    //

                                                   1
     Case 2:20-cv-05472-SB-KS Document 31 Filed 11/10/21 Page 2 of 2 Page ID #:4428




1           Accordingly, IT IS ORDERED that: (1) the Petition is DENIED; and (2) Judgment
2     shall be entered dismissing this action with prejudice.
3
4    Dated: November 10, 2021
5
6                                                          Stanley Blumenfeld, Jr.
7                                                         United States District Judge
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    2
